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                              Exhibit 2002

Prepared by      Kristina Glascock,
                 Twin Falls County Clerk

         Data for 2010 Primary Election, Twin Falls County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                        33,226
Number of Voters Who Registered on Election Day                      247
Number of Voters in Primary Election                               8,835
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                        7,966
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                      10
Number of Precincts in County                                            45
Number of Paid Election Officials for Primary Election                  200

         Data for 2008 Primary Election, Twin Falls County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                        32,450
Number of Voters Who Registered on Election Day                      191
Number of Voters in Primary Election                               6,218
Number of Voters Who Cast Ballots for a Republican
Candidate or Candidates in Primary Election                        4,928
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                      19
Number of Precincts in County                                            45
Number of Paid Election Officials for Primary Election                  200




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           Estimated Costs for Re-registering Voters to Provide
           Option to Declare Affiliation with Republican Party
           Costs of Processing Registration Cards Estimated at
          Quartiles for 25%, 50%, 75% and 100% of Voters Re-
           registering with Complete Registration Information,
                            Twin Falls County
One Employee                             3 minutes
   Percent          Number of       Minutes to Enter Data       Election Worker’s     Total Costs
Re-registering       Voters                                     Salary + Benefits
    25%               8,307       24,921 min = 415.35 hr            $19.50/hr          $ 8,100
    50%              16,613       49,839 min = 830.65 hr            $19.50/hr          $16,198
    75%              24,920       74,760 min = 1,246.00 hr          $19.50/hr          $24,297
    100%             33,226       99,678 min = 1,661.30 hr          $19.50/hr          $32,396


           Costs of Processing Registration Card Estimated at
          Quartiles for 25%, 50%, 75% and 100% of Voters Re-
          registering with Incomplete Registration Information,
                            Twin Falls County
One Employee                    10 minutes
   Percent     Number of Minutes to Enter Data and             Election Worker’s     Total Costs
Re-registering  Voters    Gather More Information              Salary + Benefits
    25%          8,307    83,070 min = 1,384.50 hr                 $19.50/hr          $ 26,998
    50%         16,613   166,130 min = 2,768.83 hr                 $19.50/hr          $ 53,993
    75%         24,920   249,200 min = 4,153.33 hr                 $19.50/hr          $ 80,990
    100%        33,226   332,260 min = 5,537.67 hr                 $19.50/hr          $107,985


     Costs of Printing and Mailing New Voter Registration Cards,
                          Twin Falls County
   Number of         Printing Cost per Mailing Cost per  Total Cost per             *Total Costs
Registered Voters           Card          Card –w/o            Card
                                        return postage
33,226               $ .09/ card       $.44/ card       $ .53/ card            $17,610

*does not include return postage
* does not include toner/labels to address the cards
*does not include any preparing/printing of instructions to the voter
*does not include staff wages/benefits to prepare mailing



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Kinds of Elections That Can Be Held on Day of May Primary
             Election in Even Numbered Years,
                     Twin Falls County
  Contested Party Primaries (Mandatory)
  Judicial Elections (Mandatory)
  8 Cities
  11 School Districts
  1 Ambulance District
  1 Cemetery District
  8 Fire Districts
  4 Highway Districts
  1 Library District
  1 Abatement District
  2 Recreation Districts
  3 Soil Conservation Districts


     Costs of Printing Additional Ballots for Persons Who
     Decline to Identify with a Political Party and Wish to
                    Vote in Other Elections,
                       Twin Falls County
 Number of Ballots to Be              Cost per Ballot                      Total Costs
   Printed estimation
10% of registered voters
          3,323                         $ .28/ ballot                         *$931

       *does not include ballot layout and coding charges from ES&S just printing charges




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        Costs of Training Election Officials to Acquaint Them
       with Requirement to Declare Affiliation with Republican
            Party in Order Obtain Ballot with Republican
                   Candidates in Primary Election,
                         Twin Falls County
Number of Persons to   Training Time Per      Election Worker’s       Total Costs
   be Trained                Person          Salary Plus Benefits –
                                                  no benefits
  45 Chief Judges         30 minutes               $9.00/hr.           $202.50
 155 Poll Workers         30 minutes               $8.50 /hr.          $658.75
 Total Cost every                                                      $861.25
     election




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